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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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 8   JOSEPH DRIES,

 9                               Plaintiff,               Case No. C20-47-MLP

10          v.                                            ORDER RE: MOTION TO REOPEN
                                                          PLAINTIFF’S DEPOSITION
11   SPRINKLR, INC., a Delaware corporation,

12                               Defendant.

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14          Before the Court is Defendant’s Motion under Federal Rule of Civil Procedure 30(d) to

15   Re-open Plaintiff’s Deposition (“Defendant’s Motion”). (Dkt. # 55.) Rule 30(d)(1) limits

16   depositions to one day of seven hours, but “[t]he court must allow additional time consistent with

17   Rule 26(b)(1) and (2) if needed to fairly examine the deponent or if the deponent, another person,

18   or any other circumstance impedes or delays the examination.” Fed. R. Civ. P. 30(d)(1). In

19   addition, the Court may impose sanctions, reasonable expenses and attorney’s fees incurred by

20   any party, on a “person who impedes, delays, or frustrates the fair examination of the deponent.”

21   Fed. R. Civ. P. 30(d)(2).

22          Here, Defendant has demonstrated that due to Plaintiff’s counsel’s failure to timely

23   produce relevant text messages involving Plaintiff’s claims, additional deposition time is



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 1   warranted to fairly examine Plaintiff. See Fed. R. Civ. P. 30(d)(1). Accordingly, having

 2   considered the arguments made by Defendant, the evidence in support of the motion, and

 3   Plaintiff’s lack of opposition, the Court ORDERS that Defendant’s Motion is GRANTED in part

 4   and DENIED in part as follows:

 5          (1)     Defendant’s Motion to Reopen Deposition is GRANTED. Plaintiff’s deposition is

 6                  to be re-opened for no more than two hours and may occur after the October 23,

 7                  2020 discovery cutoff date.

 8          (2)     Defendant’s request for an award of attorney fees and costs associated with its

 9                  Motion is DENIED.

10          (3)     The Clerk is directed to send a copy of this Order to the parties.

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12          Dated this 16th day of October, 2020.


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14                                                        MICHELLE L. PETERSON
                                                          United States Magistrate Judge
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     PLAINTIFF’S DEPOSITION - 2
